     Case 24-04021         Doc 2      Filed 02/28/24 Entered 02/28/24 08:36:56                Desc Summons
                                      adversary proceeding Page 1 of 1



                                    UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF MINNESOTA

In re:                                                                                         SUMMONS
Casey Elizabeth Meyer                                                     Debtor(s)           Adv. 24−04021
Casey Elizabeth Meyer                             v.                     Plaintiff(s)         Bky. 22−41817
The Connor Group
National Credit Systems, Inc.                                          Defendant(s)
To the defendant(s) named above:

You are summoned and required to serve upon the attorney for the plaintiff(s), whose name and address is subscribed
to the annexed complaint, an answer under Bankruptcy Rule 7012 to the complaint which is herewith served upon
you, within thirty (30) days after the date this summons was issued, except that the United States and its officers and
agencies shall file a motion or answer to the complaint within 35 days, and to forthwith file the answer with the clerk
of this court. If you fail to do so, judgment by default will be taken against you for the relief demanded in the
complaint.




Witness my official signature                               s/Tricia Pepin
and the seal of said court for                              Clerk, United States Bankruptcy Court
the District of Minnesota

Dated: 2/28/24
                                                            By: LindaO
                                                            Deputy Clerk




NOTE −− The summons with complaint annexed is to be served within 7 days after the date issued under Bankruptcy
Rule 7004(e). If the debtor is a defendant and represented by an attorney, the debtor and the attorney are each served
separately under Rule 7004(b). Pursuant to Bankruptcy Rule 7004(b)(3), if the defendant is a corporation, partnership
or other unincorporated association, a copy of the summons and complaint shall be served to the attention of an
officer, a managing or general agent, or to any other agent authorized by appointment or by law to receive service of
process and, if the agent is one authorized by statute to receive service and the statute so requires, by also mailing a
copy to the defendant.
02/15/93; 03/17/99;06/01/99;02042003


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